Case 3:18-cv-00017-NKM-JCH Document 506 Filed 04/18/22 Page 1 of 13 Pageid#: 7435




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


    BRENNAN M. GILMORE,

           Plaintiff,

    v.                                             No. 3:18-cv-00017-NKM-JCH
   ALEXANDER E. (ALEX) JONES, et al.,

                   Defendants.



     PLAINTIFF’S NOTICE OF ACCEPTANCE OF RULE 68 OFFER OF JUDGMENT
                        BY DEFENDANT JAMES HOFT

         Pursuant to Rule 68(a) of the Federal Rules of Civil Procedure, Plaintiff Brennan Gilmore

  (“Gilmore”), through his undersigned counsel, hereby provides notice that he has accepted a Rule

  68 Offer of Judgment by Defendant James Hoft (“Hoft”). Attached hereto as Exhibit A is a copy

  of Defendant Hoft’s Rule 68 Offer of Judgment to Gilmore dated and served on April 4, 2022.

  Attached hereto as Exhibit B is a proposed form of judgment agreed-upon by the parties, and

  which the parties will file shortly with the Court for entry.


         Dated: April 16, 2022                  Respectfully submitted,


                                                 /s/ Hassen A. Sayeed
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Case 3:18-cv-00017-NKM-JCH Document 506 Filed 04/18/22 Page 2 of 13 Pageid#: 7436




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Case 3:18-cv-00017-NKM-JCH Document 506 Filed 04/18/22 Page 3 of 13 Pageid#: 7437




                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 16th day of April 2022, a copy of this Plaintiff’s Notice Of
  Acceptance Of Rule 68 Offer Of Judgment By Defendant James Hoft and accompanying
  exhibits was served on the following counsel for James Hoft by email and U.S. first-class mail:


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                                                               /s/ Hassen A. Sayeed
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Case 3:18-cv-00017-NKM-JCH Document 506 Filed 04/18/22 Page 4 of 13 Pageid#: 7438




                    EXHIBIT A
Case 3:18-cv-00017-NKM-JCH Document 506 Filed 04/18/22 Page 5 of 13 Pageid#: 7439
Case 3:18-cv-00017-NKM-JCH Document 506 Filed 04/18/22 Page 6 of 13 Pageid#: 7440
Case 3:18-cv-00017-NKM-JCH Document 506 Filed 04/18/22 Page 7 of 13 Pageid#: 7441
Case 3:18-cv-00017-NKM-JCH Document 506 Filed 04/18/22 Page 8 of 13 Pageid#: 7442
Case 3:18-cv-00017-NKM-JCH Document 506 Filed 04/18/22 Page 9 of 13 Pageid#: 7443




                    EXHIBIT B
Case 3:18-cv-00017-NKM-JCH Document 506 Filed 04/18/22 Page 10 of 13 Pageid#: 7444




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTESVILLE DIVISION


    BRENNAN M. GILMORE,

           Plaintiff,

    v.                                             No. 3:18-cv-00017-NKM-JCH
    ALEXANDER E. (ALEX) JONES, et al.,

                   Defendants.



                               [PROPOSED] ORDER OF JUDGMENT

          WHEREAS, Plaintiff Brennan Gilmore (“Gilmore”) has accepted the offer of judgment

   made by Defendant James “Jim” Hoft (“Hoft”) pursuant to Fed R. Civ. P. 68, the terms of which

   offer of judgment are incorporated herein by reference, it is hereby ORDERED:

             1. Judgment is to be entered against Hoft in this action in the sum of $50,000, inclusive

                  of costs and attorneys’ fees.

             2. This judgment shall be in satisfaction of all federal and state law claims or rights

                  that Gilmore may have to damages, or any other form of relief, arising out of the

                  alleged acts or omissions of Hoft, or any official, employee, related entities, or

                  agent, either past or present, of Hoft, or any agency thereof, in connection with the

                  facts and circumstances that are the subject of this action.

             3. Hoft, his successors and/or assigns, and all past and present officials, employees,

                  representatives, related entities, and agents of Hoft are hereby released from all

                  claims that were or could have been alleged by Gilmore in the above-referenced

                  action.
Case 3:18-cv-00017-NKM-JCH Document 506 Filed 04/18/22 Page 11 of 13 Pageid#: 7445




     /s/                                              /s/
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Case 3:18-cv-00017-NKM-JCH Document 506 Filed 04/18/22 Page 12 of 13 Pageid#: 7446




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     Attorneys for Plaintiff




                               SO ORDERED this ___ day of ________________, 2022.




                                            ____________________________________
                                            NORMAN K. MOON
                                            SENIOR UNITED STATES DISTRICT JUDGE
Case 3:18-cv-00017-NKM-JCH Document 506 Filed 04/18/22 Page 13 of 13 Pageid#: 7447




                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 18th day of April 2022, a copy of the foregoing document
   was served on all parties via the Court’s Electronic Case Filing system, and separately sent via
   electronic mail to Mr. Lee Stranahan and Mr. R. Scott Creighton.

                                                               /s/ Hassen A. Sayeed
                                                               Hassen A. Sayeed
